    Case 1:14-ml-02570-RLY-TAB Document 19793-1 Filed 08/27/21 Page 1 of 1 PageID #:
                                      123114



                                       \

                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF INDIANA
                                           INDIANAPOLIS DIVISION

       In Re: COOK MEDICAL, INC.,                                      Case No. 1:14-ml-2570-RLY-TAB
       IVC FILTERS MARKETING, SALES PRACTICES                                   MDL No. 2570
       AND PRODUCTS LIABILITY LITIGATION
       _________________________________________
       This Document Relates to Plaintiff:
       Lawrence Sellers
       Civil Case No. 1:17-cv-01440-RLY-TAB

                                ORDER ON MOTION TO WITHDRAW COUNSEL


       Plaintiff’s counsel’s Motion to Withdraw is GRANTED.
       Plaintiff’s counsel, John T. Kirtley, III, and the law firm of Ferrer, Poirot & Wansbrough, are hereby
granted leave to withdraw, and no further action shall be taken by them.
       All notices regarding this case shall be directed directly to Plaintiff at:
3100 McLong Dr.
High Point NC 27265
Phone: 336-899-5573
Phone: 336-454-1509
Email: lawrenceraysells@aol.com



       Date: 8/31/2021




                                                               ________________________
                                                               United States District Judge



Distribution to all registered counsel of record via the Court’s ECF system.




                                                                                                           1
